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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                             October 16, 2023
                         _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
  AMERICAN SOUTHWEST
  MORTGAGE CORP.; AMERICAN
  SOUTHWEST MORTGAGE FUNDING
  CORP.,

        Plaintiffs - Appellees/Cross-
        Appellants,

  v.                                                      Nos. 22-6071 & 22-6075
                                                      (D.C. No. 5:20-CV-00422-PRW)
  CONTINENTAL CASUALTY                                          (W.D. Okla.)
  COMPANY,

        Defendant - Appellant/Cross-
        Appellee.
                       _________________________________

                                    JUDGMENT
                         _________________________________

 Before McHUGH, KELLY, and EID, Circuit Judges.
                   _________________________________

        These appeals originated in the Western District of Oklahoma and were argued by

 counsel.

        The judgment of that court is affirmed in part and reversed in part. The case is

 remanded to the United States District Court for the Western District of Oklahoma for

 further proceedings in accordance with the opinion of this court.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
